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 6   Attorneys for Plaintiffs

 7
 8                                        UNITED STATES DISTRICT COURT

 9                                     NORTHERN DISTRICT OF CALIFORNIA

10

11   BOARD OF TRUSTEES OF THE                                Case No.:
     LABORERS HEALTH AND WELFARE
12   TRUST FUND FOR NORTHERN                                 COMPLAINT FOR DAMAGES FOR
     CALIFORNIA; BOARD OF TRUSTEES OF                        BREACH OF COLLECTIVE
13   THE LABORERS VACATION-HOLIDAY                           BARGAINING AGREEMENT; TO
     TRUST FUND FOR NORTHERN                                 RECOVER UNPAID TRUST FUND
14   CALIFORNIA; BOARD OF TRUSTEES OF                        CONTRIBUTIONS
     THE LABORERS PENSION TRUST FUND
15   FOR NORTHERN CALIFORNIA; and
     BOARD OF TRUSTEES OF THE
16   LABORERS TRAINING AND RETRAINING
     TRUST FUND FOR NORTHERN
17   CALIFORNIA,

18                                  Plaintiffs,

19             vs.
20   STUMP & SONS, INC., a California
     corporation,
21
                                    Defendant.
22

23            Now come the plaintiffs, hereinabove named, and for their causes of action against

24   defendant, allege as follows:
25                                           I. JURISDICTION AND VENUE

26            1.       This is an action for damages for breach of the collective bargaining agreement

27   described below and for recovery of unpaid trust fund contributions. This Court has jurisdiction

28   of the action under and pursuant to the provisions of 29 U.S.C. §185 (§301 of the Labor



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 1   Management Relations Act of 1947, as amended) and 29 U.S.C. §§1132(a)(3) and 1132(e)(1)

2    (§§502(a)(3) and 502(e)(1) of the Employee Retirement Income Security Act of 1974, as

 3   amended (“ERISA”). The suit arises from the defendant Stump & Sons, Inc.’s failure to make

4    trust fund contributions as required by the collective bargaining agreement, by the written trust

 5   agreements and by provisions of federal law.

 6                                   II. INTRADISTRICT ASSIGNMENT

 7            2.       Venue of the within action is properly laid in the U.S. District Court for the

 8   Northern District of California in that, under ERISA §502(e)(2), 29 U.S.C. §1132(e)(2),

 9   contributions are made to, and benefits paid from, a corporate co-trustee bank in the Northern

10   District of California.

11                                                III. PARTIES

12            3.        The Laborers Health and Welfare Trust Fund for Northern California, Laborers

13   Vacation-Holiday Trust Fund for Northern California, Laborers Pension Trust Fund for

14   Northern California, and Laborers Training and Retraining Trust Fund for Northern California

15   (collectively, the “Trust Funds”) are the plaintiffs herein. The Trust Funds are organized under

16   and pursuant to the provisions of §§302(c)(5) and 302(c)(6) of the Labor Management Relations

17   Act of 1947, as amended, 29 U.S.C. §§ 186(c)(5) and 186(c)(6). The Trust Funds were

18   established through collective bargaining agreements between the Northern California District

19   Council of Laborers and employer associations representing construction industry employers

20   doing business in Northern California. The Trust Funds are employee benefit plans created by

21   written trust agreements subject and pursuant to §§3(3) and 3(37) of ERISA, 29 U.S.C.

22   §§1002(3) and (37). The Boards of Trustees, as fiduciaries, are the plaintiffs, who sue on behalf

23   of the Trust Funds.

24            4.        Each of the Trust Funds is a third-party beneficiary of the collective bargaining

25   agreement described below.

26            5.        At all times mentioned herein, each of the Trust Funds was an express trust

27   ereated by a written trust agreement subject to and pursuant to §302 of the Labor Management

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 1   Relations Act of 1947, as amended, 29 U.S.C. §186, and a multi-employer benefit plan within

2    the meaning of sections 3 and 4 of ERISA, 29 U.S.C. §§1002, 1003.

3             6.       The Trust Funds provide a variety of benefits for laborers, retired laborers and

4    other related covered employees on whose behalf contributions are made pursuant to collective

 5   bargaining agreements. The duties of the Board of Trustees of the Trust Funds include ensuring

6    that employers who are signatories to said collective bargaining agreements comply with the

 7   terms of those agreements with respect to payments and contributions to the Trust Funds.

 8            7.       Plaintiffs are informed and believe, and upon that ground allege, at all times

 9   material hereto, defendant Stump & Sons, Inc. was and is a California limited liability company

10   with its principal place of business located in San Leandro, California. Plaintiffs are further

11   informed and believe, and upon that ground allege, at all times material hereto, defendant

12   Stump & Sons, Inc. was an employer within the meaning of §3(5) and §515 of ERISA,

13   29 U.S.C. §§1002(5), 1145 and an employer in an industry affecting commerce within the

14   meaning of section 301 of the Labor Management Relations Act of 1947, as amended,

15   29 U.S.C. §185.

16                                     TV. FIRST CLAIM FOR RELIEF

17                      BREACH OF COLLECTIVE BARGAINING AGREEMENT

18            8.        Plaintiffs reallege and incorporate by reference, as though fully set forth, the

19   allegations contained in Paragraphs 1-7 of this complaint.

20            9.        On or about August 13, 1998 defendant Stump & Sons, Inc. entered into a

21   Memorandum Agreement with the Northern California District Council of Laborers and

22   pursuant to the Memorandum Agreement, became bound to a written collective bargaining

23   agreement with the Northern California District Council of Laborers (“Laborers Union”)

24   entitled the Laborers’ Master Agreement For Northern California (“Master Agreement”). In

25   agreeing to be bound to the Master Agreement, defendant agreed to be subject to and bound by

26   all provisions and conditions of the written trust agreements which established the trust funds.

27   Pursuant to the provisions of the Master Agreement, defendant agreed to be bound by all terms

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 1     relating to wages, hours and conditions of employment prescribed therein with the Laborers

2      Union.
3               10.      By virtue of the Master Agreement and written trust agreements, defendant

4      promised and agreed that: (1) it would pay employee fringe benefit contributions into each

 5     Trust Fund in regular monthly installments commencing on or before the 15th day of the month

 6     immediately succeeding the month in which the employee’s work was performed; (2) that in the

 7     event that any of said monthly installments were not paid in full on or before the 25th day of the

 8     month in which such contributions became due, it would pay interest on the delinquent

 9     contribution in the amount of 1.5% per month until paid in full, and would also pay the amount

10     of $150 for each delinquent contribution as liquidated damages, and not as a penalty; and

11     (3) that if any suit with respect to any of said contributions or payments were filed against them,

12     it would pay into said Trust Funds the attorneys’ fees, costs and all other expenses incurred in

13     connection with such suit.

14              11.       The Master Agreement between the Laborers Union and Stump & Sons, Inc. has

15     never been terminated.

16              12.       Plaintiffs have performed all conditions, covenants and promises on their part to

17     be performed in accordance with the terms and conditions of the Master Agreement and Trust

18     Agreements.

19 ,            13.      Within four years last past, defendant materially breached and broke the

20     aforesaid Master Agreement and trust agreements in the following respects:
21                        a.          By reporting, but failing to pay (reported, not paid) all employee fringe

22                                    benefit contributions on behalf of its covered employees for the period

23                                    May - August 2019 in the principal amount of $37,675.50, according to

24                                    proof at trial;

25                        b.          By failing to pay interest and liquidated damages on the unpaid and

26                                    delinquent employee fringe benefit contributions (reported, not paid), for

27                                    the period May - August 2019 in an amount to be proven at trial;

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 1                     c.           By failing to report and failing to pay (not reported, not paid), pursuant to

2                                   an audit, all employee fringe benefit eontributions on behalf of its

 3                                  eovered employees for the periods Oetober 2015 and January 2018, in the

4                                   prineipal amount of $959.90, according to proof at trial;

 5                     d.           By failing to pay interest and liquidated damages on the unpaid and

 6                                  delinquent employee fringe benefit contributions (not reported, not paid),

 7                                  pursuant to audit, for the periods October 2015 and January 2018 in an

 8                                  amount to be proven at trial; and

 9                      e.          By failing to pay interest and liquidated damages on employee fringe

10                                  benefit contributions that were paid late (paid, paid late), for the period

11                                  February - December 2017; January - December 2018; and January -

12                                  April 2019 in the amount of $6,941.77, as calculated through February

13                                  10, 2020.

14            14.       The aforesaid material breaches proximately caused damages to plaintiffs in the

15   following approximate amounts, all according to proof at trial: (a) for unpaid contributions

16   (reported, not paid) in the principal amount of $37,675.50 plus interest and liquidated damages

17   in an amount to be proven at trial; (b) for unpaid contributions (not reported, not paid), pursuant

18   to audit in the principal amount of $959.90 plus interest and liquidated damages in an amount to

19   be proven at trial; and (c) for interest and liquidated damages on contributions paid late (paid,

20   paid late), in the amount of $6,941.77, as calculated through February 10, 2020. Interest will

21   continue to accrue at the rate of 1.5% each month during the pendency of this lawsuit.

22            15.       Plaintiffs have incurred and will continue to incur attorneys’ fees and costs in the

23   within action. Pursuant to the provisions of the Master Agreement and the trust agreements,

24   plaintiffs request that the Court award plaintiffs their attorneys’ fees and costs incurred in the

25   bringing of the within action.

26            WFIEREFORE, plaintiffs pray for judgment as set forth below.

27   ///

28   ///



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 1                                        V. SECOND CLAIM FOR RELIEF

2                      RECOVERY OF UNPAID TRUST FUND CONTRIBUTIONS

 3                                              (ERISA §§502(g)(2), 515)

4             16.      Plaintiffs reallege and incorporate by reference, as though fully set forth, the

 5   allegations contained in Paragraphs 1-15 of this Complaint.

 6            17.       ERISA §515, 29 U.S.C. §1145, requires defendant to make such contributions to

 7   the plaintiffs Trust Funds as are required under the terms of their collective bargaining

 8   agreement with the Union. Pursuant to the provisions of their trust agreements, plaintiffs are

 9   entitled to enforce defendant’s obligations to make those contributions.

10            18.       Plaintiffs are informed and believe, and on that ground allege, that defendant

11   reported, but failed to pay (reported, not paid) all employee fringe benefit contributions into

12   each Trust Fund for the period May - August 2019 in the principal amount of $37,675.50,

13   according to proof at trial. Defendant is further obligated by the provisions of the Master

14   Agreement and the Trust Agreements to pay interest on unpaid contributions at the rate of 1.5%

15   per month until paid and liquidated damages in the amount of $150 for each month that

16   defendant failed to timely report and pay all employee fringe benefit contributions into each

17   Trust Fund.
18            19.       Pursuant to the provisions of ERISA, §502(g)(2), 29 U.S.C. §1132(g)(2),

19   plaintiffs are entitled to the following statutory relief:

20                      (a)         Section 502(g)(2)(A): for unpaid contributions (reported, not paid) in the

21                                  principal amount of $37,675.50, according to proof at trial;

22                      (b)         Section 502(g)(2)(B): for contributions reported and not paid, an award

23                                  of interest on the unpaid fringe benefit contributions at the rate of 1.5%

24                                  per month, from the date of the delinquency, until the date of judgment,

25                                  calculated to be $4,565.06 through February 10, 2020; and

26                      (c)         Section 502(g)(2)(C): the additional award of an amount equal to the

27                                  greater of (i) interest on the unpaid fringe benefit contributions at the rate

28                                  of 1.5% per month, from the date of the delinquency, until the date of



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 1                                  judgment or; (ii) liquidated damages under the Master Agreement and

2                                   trust agreements of $150 for each month that defendant reported, but

 3                                  failed to pay all employee fringe benefit contributions into each Trust

4                                   Fund, calculated to be $4,565.06 through February 10, 2020.

 5            20.       Plaintiffs are informed and believe, and on that ground allege, that defendant

 6   failed to report, and failed to pay (not reported, not paid), pursuant to audit, all employee fringe

 7   benefit contributions into each Trust Fund for the periods October 2015 and January 2018 in the

 8   principal amount of $959.90, according to proof at trial. Defendant is further obligated by the

 9   provisions of the Master Agreement and the Trust Agreements to pay interest on unpaid

10   contributions at the rate of 1.5% per month until paid and liquidated damages in the amount of

11   $150 for each month that defendant failed to timely report and pay all employee fringe benefit

12   contributions into each Trust Fund.

13            21        Pursuant to the provisions of ERISA, section 502(g)(2), 29 U.S.C. § 1132(g)(2),

14   plaintiffs are entitled to the following statutory relief:

15                      (a)         Under section 502(g)(2)(A): for unpaid contributions (not reported, not

16                                  paid) pursuant to an audit, in the principal amount of $959.90, according

17                                  to proof at trial;

18                      (b)         Section 502(g)(2)(B): for contributions not reported and not paid (audit),

19                                  an award of interest on the unpaid fringe benefit contributions at the rate

20                                  of 1.5% per month, from the date of the delinquency, until the date of

21                                  judgment, calculated to be $416.13 through February 10, 2020, according

22                                  to proof at trial; and

23                      (c)         Section 502(g)(2)(C): the additional award of an amount equal to the

24                                  greater of (i) interest on the unpaid fringe benefit contributions at the rate

25                                  of 1.5% per month, from the date of the delinquency, until the date of

26                                  judgment; or (ii) liquidated damages under the Master Agreement and

27   ///

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 1                                  trust agreements of $ 150 for each month that defendant failed to timely

2                                   report and pay all employee fringe benefit contributions into each Trust

 3                                  Fund, calculated to be $416.13 through February 10, 2020, according to

4                                   proof at trial.

 5            22.       Plaintiffs have incurred and will continue to incur attorneys’ fees in the within

 6   action. Pursuant to the provisions of section 502(g)(2)(D) of ERISA, 29 U.S.C. §1132(g)(2)(D),

 7   plaintiffs request that the Court award plaintiffs their attorneys’ fees and costs incurred in the

 8   bringing of the within action.

 9            WFIEREFORE, plaintiffs pray for judgment as follows.

10                                              VI. RELIEF REQUESTED

11            1.        On the First Claim for Relief, for damages for breach of the collective bargaining

12   agreement for judgment against defendant as follows:

13                      (a)         For unpaid contributions (reported, not paid) in the principal amount of

14                                  $37,675.50 plus interest and liquidated damages in an amount to be

15                                  proven at trial;

16                      (b)         For unpaid contributions (not reported, not paid) pursuant to audit, in the

17                                  principal amount of $959.90 plus interest and liquidated damages in an

18                                  amount to be proven at trial;

19                      (c)         For interest and liquidated damages on contributions paid late (paid, paid

20                                  late), in the amount of $6,941.77, as calculated through February 10,

21                                  2020; and

22                      (d)         for costs of suit, attorneys’ fees and for such other further relief as the

23                                  Court may deem just and proper.

24            2.        On the Second Claim for Relief, for recovery under ERISA section 502(g)(2),

25   29 U.S.C. § 1132(g)(2), for judgment against defendant as follows:

26                      (a)         Under section 502(g)(2)(A): for unpaid contributions (reported, not paid)

27                                  in the principal amount of $37,675.50, according to proof at trial;

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 1                      (b)         Under section 502(g)(2)(B): an award of interest on the unpaid fringe

 2                                  benefit contributions at the rate of 1.5% per month, from the date of

 3                                  delinquency, until the date of judgment, calculated to be $4,565.06

 4                                  through February 10, 2020;

 5                      (c)         Under section 502(g)(2)(C): the additional award of an amount equal to

 6                                  the greater of (i) interest on the unpaid fringe benefit contributions at the

 7                                  rate of 1.5% per month, from the date of delinquency, until the date of

 8                                  judgment; or (ii) liquidated damages under the Master Agreement and

 9                                  trust agreements of $150 for each month that defendant failed to timely

10                                  report and pay all employee fringe benefit contributions into each Trust

11                                  Funds, calculated to be $4,565.06 through February 10, 2020;

12                      (d)         Under section 502(g)(2)(A): for unpaid contributions (not reported, not

13                                  paid) pursuant to an audit, in the principal amount of $959.90, according

14                                  to proof at trial;

15                      (e)         Under section 502(g)(2)(B): an award of interest on the unpaid fringe

16                                  benefit contributions (not reported, not paid) pursuant to an audit at the

17                                  rate of 1.5% per month, from the date of delinquency, until the date of

18                                  judgment, calculated to be $416.13 through February 10, 2020;

19                      (f)         Under section 502(g)(2)(C): the additional award of an amount equal to

20                                  the greater of (i) interest on the unpaid fringe benefit contributions at the

21                                  rate of 1.5% per month, from the date of delinquency, until the date of

22                                  judgment; or (ii) liquidated damages under the Master Agreement and

23                                  trust agreements of $150 for each month that defendant failed to timely

24                                  report and pay all employee fringe benefit contributions into each Trust

25                                  Funds, calculated to be $416.13 through February 10, 2020; and

26   ///

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 1                      (g)         Under section 502(g)(2)(D): an award of attorneys’ fees and costs
 2                                  incurred by plaintiffs in the bringing of the within action, and for such
 3                                  other or further amounts as may be shown at trial, and for such other

 4                                  further relief as the Court may deem just and proper.

 5   DATED: March 10, 2020

 6                                                         BULLIVANT HOUSER BAILEY PC

 7
 8                                                         By
                                                                Ronald L. Richman
 9                                                              Sarah Bowen
10                                                         Attorneys for Plaintiffs
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